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AO 450 (Rev. 01/09) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      District of South Carolina


                 Beyonka Wider
                    Plaintiff
                       v.                                                Civil Action No.       3:17-02117-JMC
       Richland County School District One,
                   Defendant

                                    JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 the plaintiff (name)                       recover from the defendant (name)                 the amount of
dollars ($     ), which includes prejudgment interest at the rate of               %, plus postjudgment interest at the rate of
      %, along with costs.
 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
          recover costs from the plaintiff (name)                                  .

O other: the plaintiff, Beyonka Wider, take nothing of the defendant, Richland County School District One,
and this case is dismissed.


This action was (check one):
 tried by a jury with Judge                              presiding, and the jury has rendered a verdict.

 tried by Judge                            without a jury and the above decision was reached.
O decided by the Honorable J. Michelle Childs, United States District Judge presiding. The Court having
granted the defendant’s motion to dismiss.


Date: October 10, 2017                                                   CLERK OF COURT

                                                                                             s/Angie Snipes
                                                                                   Signature of Clerk or Deputy Clerk
